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9                            UNITED STATES DISTRICT COURT
10                          SOUTHERN DISTRICT OF CALIFORNIA
11 UNITED STATES OF AMERICA,             )     Case No. 18MJ2085-RBB-CAB
                                         )
12                      Plaintiff,       )     GOVERNMENT’S RESPONSE TO
                                         )     DEFENDANT’S MOTION FOR
13         v.                            )     BAIL REVIEW
                                         )
14 OLGA ESMERALDA GEORGE,                )     Date: May 10, 2018
                                         )     Time: 11:00 a.m.
15                      Defendant.       )
                                         )
16
17
           COMES NOW, the plaintiff, UNITED STATES OF AMERICA, by and
18
     through its counsel Adam L. Braverman, United States Attorney, and
19
     Michael E. Lasater, Assistant U.S. Attorney, and hereby files its Response to
20
     Defendant’s Motion for Bail Review. This Response is based upon the files and
21
     records of the case.
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1                                      RESPONSE
2          In this case, the Government agrees that among the appropriate conditions of
3 release could include a personal appearance bond of $10,000 secured by a personal
4 surety and $1,000 cash. (See Defendant’s Memorandum of Point and Authorities,
5 page 5.)
6          DATED: May 9, 2018.
7                                               Respectfully submitted,
8                                               ADAM L. BRAVERMAN
                                                United States Attorney
9
                                                s/ Michael E. Lasater
10                                              MICHAEL E. LASATER
                                                Assistant United States Attorney
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 4                        UNITED STATES DISTRICT COURT
 5                      SOUTHERN DISTRICT OF CALIFORNIA
 6 UNITED STATES OF AMERICA,                 )     Case No. 18MJ2085-RBB-CAB
                                             )
 7              Plaintiff,                   )     CERTIFICATE OF SERVICE
                                             )
 8         v.                                )
                                             )
 9 OLGA ESMERALDA GEORGE,                    )
                                             )
10                      Defendant.           )
                                             )
11
12         IT IS HEREBY CERTIFIED THAT:
13         I, the undersigned declare under penalty of perjury, that I am over the age
14 eighteen years and I am not a party to the above-entitled action. I have caused service
15 of this document: GOVERNMENT’S RESPONSE TO DEFENDANT’S
16 MOTION FOR BAIL REVIEW in the following manner: by electronically filing
17 with the U.S. District Court for the Southern District of California using its ECF
18 System:
19         Eric Studebaker Fish
20         I declare under penalty of perjury that the foregoing is true and correct.
21         EXECUTED on May 9, 2018.
22                                                 s/ Michael E. Lasater
                                                   MICHAEL E. LASATER
23                                                 Assistant United States Attorney

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